                          EXHIBIT 8
     Correspondences with Faris Dixon




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6/17/24, 8:08 PM                                               avens1@charter.net-Webmail I CHTR


    Subject: Death of Keisha White
    Date: July 23, 2021 at 2:09 PM EDT
    From: a vens l @charter.net<a vens l @charter.net>
    To: Faris.C.Dixon@nccourts.org

    Hi Attorney Dixon

    Two years ago you told me that no crime had been committed against my daughter, Keisha White, who died
    in restraints from lack of oxygen at Vidant. Can you please provide a list of the documents you reviewed?
    Can you also let me know if you will do this and what kind of time frame I can expect if you do? Thank you.

    Cynthia Avens




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https://mail3.spectrum.net/user/mail/S0VJU0hBIFdlSVRF/1337?search=dixon&page= 1   Filed 06/18/24   Page 2 of 7    1/1
6/17/24, 7:46AM                                         avens1@charter.net - Webmail I CHTR


    Subject: Ms. Keisha White
    Date: July 26, 2021 at 1:57 PM EDT
    From: Dixon, Faris C.<Faris.C.Dixon@nccourts.org>
    To: avensl @charter.net
    Cc: Jennifer.J.Corbitt@nccourts.org


    Cynthia Avens



    Good afternoon Mrs. Avens. I hope this email finds you well.



    My recollection is that the previous administration had Assistant District Attorney A. Futrell review the
    records and made a detern1ination that a crime could not be charged. Mr. Futrell then turned them over to the
    Elected District Attorney Kimberly Robb who reviewed them. It is Mr. Futrell's recollection that Mrs. Robb
    discussed having the records reviewed by a pathologist separate from Vidant Hospital. After her review, Mrs.
    Robb came to the same conclusion that no charges could be filed. Sho1ily after I came into office you
    requested the records be reviewed again. I subsequently reviewed those records and determined that charges
    could not be filed .



    If you had a civil attorney retained to assist you with this matter, he or she would have a complete copy of
    what we have. If not, I would direct you to the medical records department at Vidant Medical Center.



    Respectfully,



    Faris Dixon

    District Attorney




                         Faris C. Dixon, Jr.

                         District Attorney
                         Prosecutorial District 3

                         North Carolina Judicial Branch

                         0 252-695-7200
                         F 252-695-7162




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https://mail3.spectrum.net/user/mail/S0VJU0hBIFdlSVRF/ Document 33-10      Filed 06/18/24     Page 3 of 7           1/2
                      FARIS C. DI XON JR.
                      D IST RICT ATTORNEY
                      PROSECUTORIAL D IST RICT 3

                      PITT COU N TY COURT HOUSE
                      PO Box 8185
                      GREENVI LLE. NC 27835-8 185
                      0 252-695-7200 I F 252-695- 7162




February 14, 2022


Cynthia Avens
303 Riverside Trail
Roanoke Rapids, NC 27870


RE: Keisha White


Dear Ms. Avens:

        Thank you for sharing your concerns with my office surrounding the death of your daughter
in 2015. I recognize that this case is important to you. I want to assure you that my office has
carefully reviewed and evaluated this case when determining what, if any, action could be taken.

       Please understand that our review of this case took significant time and we contacted you
via mail on October 24, 2019 advising our findings. I recognize that it is difficult to wade through
periods of delay and uncertainty, especially in a case of this nature. However, we are committed
to providing a thorough and considered answer to your concerns. As per your request, we will be
sending you a list of evidence that we were provided and used to determine that there was no
criminal liability in this matter. We ask for your patience during this process but assure you that
you will be sent the requested information soon.

       Thank you again for your patience and understanding this matter.


                                                           Sincerely,

                                                         :Faris C. 'Dixon, Jr.

                                                           Faris C. Dixon, Jr.
                                                           District Attorney




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                    FARI S C. DI XON JR.
                    D IST RICT ATTORNEY
                    PROSECUTORIAL D ISTRICT 3

                    PITT COUNTY COURT H OUSE
                    PO Box 818S                   ,
                    GREENVILLE . NC 27835-8 185
                    O 2S2-695-7200 I F 2S2-69S-7162




March 14, 2022

Cynthia Avens
303 Riverside Trail
Roanoke Rapids, NC 27870

RE: Keisha White

Dear Ms. Avens:

         I hope this letter finds you well. As you are aware, our office has reviewed this matter many
times. The death certificate listed the manner of death as being natural and as you know, there was
no autopsy performed. After a review by the Pitt County Medical Examiner, a request for record
review was made and the North Carolina Department of Health and Human Services Chief
Medical Examiner Deborah Radisch, MD, MPH reviewed the requested records, agreeing with the
previous findings. At that time, Dr. Radisch indicated that an exhumation and autopsy would not
result in any further information.

        Special Agent Matherly, North Carolina State Bureau of Investigation, also reviewed the
records and conducted an investigation. Agent Matherly also reached the conclusion that there was
no foul play and no intent to kill Ms. White. Former Greenville Police Chief Hassan Aiden began
this investigation and current Chief Mark Holtzman followed up, reviewing it more recently upon
request. Subsequently, both Chiefs reached the conclusion that no criminal culpability can be
determined in this matter.

       As you and Mr. Dixon discussed during your phone call, the Pitt County District Attorney's
Office has continued to investigate all allegations and information surrounding the death of your
daughter. Belmv you ·.vill find a list of the records r~viewed on numerous occasions.

         Vidant Medical

    •    4/17/14 (flowsheet data)
    •    4/18/14- 4/25/14 (Medical record)
    •    4/26/14- 5/1 /14 (Medical record)
    •    4/20/14 (H&P notes)
    •    5/8/14 (Flowsheet data)
    •    5/9/14 (MD Progress notes, Flowsheet data, Nursing notes, medical record)
    •    5/10/14 (Flowsheet data & Discharge summary)
    •    5/11/14 (Flowsheet data)

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   •    5/11/14 (Flowsheet data)
   •    4/17/14-5/10/14: All meds & Administrations
   •    4/17/14- 5/11/14: All lab results
   •    4/20/14 (Monitor technician)
   •    5/12/14 (Hospital restraint/ Seclusion death report)
   •    4/16/11-5/12/14 (Orders)
   •    5/11/14- (Death notification & body release form)
   •    Patient education
   •    4/20/14- 5/8/ 14 - (Records)
   •    Sheri Christin Fearing admitted to Walter B Jones on 9/30/14
   •    Estate of Keisha White
   •    4/17/14-5/1 /14- Consults
   •    4/18/14-5/8/14- MD progress notes
   •    4/ 17/14. 5/10/14- Radiology Results
   •    4/17/14-05/02/14 - Other progress notes
   •    Care plan event log
   •    4/17/14- 5/8/14- Nurse progress notes
   •    Physician' s order
   •    10/1/14 (Department of Health and Human Services)

       As stated before, our review of this case took significant time and we contacted you via
mail on October 24, 2019, advising our findings . I recognize that it is difficult to wade through
periods of delay and uncertainty, especially in a case of this nature.

        Should you feel you have new pertinent evidence, that evidence would need to be directed
to the Greenville Police Department for investigation.

        Thank you again for your patience and understanding this matter.


                                                    Sincerely,

                                                 Jennifer J. Corbitt
                                                    Jennifer J. Corbitt
                                                    Administrative Assistant
                                                    Pitt County District Attorney




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March 6, 2024

Cynthia Avens
303 Riverside Trail
Roanoke Rapids, NC 27870

Dear Ms. Avens :

We are in receipt of the submission by Donald Jason. MD, JD. Thank you for the information.

Ms. White passed during the administration of District Attorney Kimberly Robb in 2014. The matter was
referred to law enforcement well after the incident. Greenville Police Depa11ment and the No11h Carolina
State Bureau of Investigation conducted a concurrent inquiry. Both agency's findings were subsequently
turned over to the Pitt County District Attorney's Office. Assistant District Attorney A. Futrell was tasked
with reviewing the information. It was his determination that charges should not be filed at that time.
District Attorney Robb referred the matter to the Chief Medical Examiner in Raleigh. After speaking with
the Chief Medical Examiner, District Attorney Robb agreed with the previous conclu ion of ADA Futrell.

Per your request in 2019, after I was elected as District Attorney, I had Mr. Futrell review the matter
again . After considering all the information available to him , he again concluded that there was
insufficient evidence to charge. After ADA Futrell reviewed all documents at my direction, you requested
that I review said document . I personally reviewed the material. After reviewing voluminous
documents. I agreed with DA Robb and ADA Futrell's assessment.

As you are aware, the case documents, including the medical records, have been reviewed numerous
times both by members of the Pitt County District Attorney's Office, before and after my election. On
January 24. 2024, the Greenville Police Depa11ment and Pitt County District Attorney's Office received
the submission from Donald Jason, MD. JD. Upon receiving the report from Dr. Jason. Greenville Police
Depa1tment conducted their own reassessment. Likewise, the Pitt County District Attorney·s Office ha
independently conducted a reassessment considering all available information . It is the conclusion of the
Pitt County District Attorneys Office that it is inappropriate to file criminal charges.
While I empathize with the loss of your daughter, Keisha, there is insufficient evidence to proceed with
criminal charges. This concludes our review.

Respectfully,



Faris Dixon
District Attorney


Cc: Donald Phillip. Assistant Greenville City Attorney. Greenville Police Depaitment




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